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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 JASON LEOPOLD and
 BUZZFEED, INC.,

                 Plaintiff,

 v.

 UNITED STATES DEPARTMENT OF
 JUSTICE, et al.

                 Defendants.
                                                          Case No: 1:19-cv-01278-RBW

 CABLE NEWS NETWORK, INC.,

                 Plaintiff,

 v.

 FEDERAL BUREAU OF INVESTIGATION,

                 Defendant.


  PLAINTIFFS’ RESPONSE TO DEFENDANT’S NOTICE OF COMPLIANCE WITH
      COURT ORDER AND THE DECLARATION OF MARK R. MEADOWS

         Plaintiffs Cable News Network, Inc. and Jason Leopold and BuzzFeed, Inc. (together

“Plaintiffs”) hereby submit this response to Defendant’s Notice of Compliance with the Court’s

Order and the Declaration of Mark R. Meadows, the White House Chief of Staff. See Dkts. 112,

112-1.
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       The Meadows Declaration filed today confirms that President Trump’s recent tweets,

announcing that he had “fully authorized the total Declassification of any & all documents,”1

were the President’s unambiguous instructions for the declassification of all materials related to

Special Counsel Mueller’s investigation. This new declaration attests that a year and a half ago,

when the President ordered Attorney General Barr to begin the declassification process, 2 his

order meant that the Attorney General should complete the “total Declassification” of all records

with “No redactions!”

       Notably, the White House Memorandum of May 2019 coincided with the commencement

of this FOIA litigation seeking, inter alia, the FD-302s from the Special Counsel’s investigation

of Russian interference in the 2016 election. The White House and DOJ have now made clear

that, despite 18 months of DOJ’s vigorous arguments in this Court to support countless

redactions to these public records, DOJ has all along been operating under a White House

mandate to release the records with “No redactions!” Indeed, the President himself, in his

tweets, appears as frustrated as the Plaintiffs and the American public with the delays in the

declassification process. The tweets make clear that the President believed those tasked with

declassifying the records – and Mr. Meadows makes clear that the President means Attorney

General Barr – must “Act!!!”

       The Meadows Declaration’s statement that the President’s tweets “do not require the

declassification or redaction of any particular documents” is entirely beside the point. According


1
 See https://twitter.com/realdonaldtrump/status/1313640512025513984;
https://twitter.com/realdonaldtrump/status/1313650640699224069.
2
  See Memorandum on Agency Cooperation with Attorney General’s Review of Intelligence
Activities Relating to the 2016 Presidential Campaigns, Presidential Memoranda (May 23, 2019)
(https://www.whitehouse.gov/presidential-actions/memorandum-agency-cooperation-attorney-
generals-review-intelligence-activities-relating-2016-presidential-campaigns/).



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to Mr. Meadows, the President was referring in this month’s tweets to his previous instruction to

the Attorney General. We now understand that the President in his May 2019 Memorandum

instructed the Attorney General, as the tweet commands, to ensure the “the total Declassification

of any & all documents” with “No Redactions!” The May 2019 instruction, according to the

Meadows Declaration’s interpretation of the tweets, required complete and prompt compliance.

        The President’s statements on this matter could not be more clear. The consistent

instruction from this Court – that the public should have maximum access to these public records

in advance of the November 3 Presidential Election – also could not be more clear. Finally, the

Meadows Declaration could not be more clear that, rather than rescinding his tweets, the

President has reinforced the comprehensiveness of his May 2019 instruction to the Attorney

General and the speed with which he expects his order to be carried out.

       For these reasons, and on this record, the Court should order the DOJ to immediately

begin the release of the FD-302s without the redaction of any material previously withheld as

classified material or under any discretionary exemption.



 Dated: October 20, 2020                   Respectfully submitted,

                                              /s/ Charles D. Tobin
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                                           /s/ Matthew V. Topic
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                                CERTIFICATE OF SERVICE

       I hereby certify that, on this date, I caused the foregoing to be filed and served

electronically via the Court’s ECF System upon counsel of record.



Dated: October 20, 2020                       /s/ Charles D. Tobin
                                              Charles D. Tobin




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